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     Attorneys for Defendant
 5   JUN XIONG WANG
 6
                           IN THE UNITED STATES DISTRICT COURT
 7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF CALIFORNIA                 )   No. S-07-025 EJG
                                                 )
10                 Plaintiff,                    )
                                                 )   ORDER CONTINUING SENTENCING
11    v.                                         )   DATE
                                                 )
12                                               )
     JUN XIONG WANG,                             )
13                                               )
                   Defendant.                    )
14                                               )
15
16          In accordance with the Stipulation of the Parties, and for good cause shown, it is hereby
17   ordered that the sentencing presently scheduled for March 20, 2009 be vacated. The matter is
18   continued to April 10, 2009 at 10:00 a.m. for sentencing of defendant Jun Xiong Wang.
19
20          IT IS SO ORDERED:
21   Dated: March 19, 2009                       /s/ Edward J. Garcia
22                                               HON. EDWARD J. GARCIA
                                                 Senior United States District Court Judge
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